    Fill in this information to identify your case:

    Debtor 1            KATRINA ULLANDA JONES
                      __________________________________________________________________
                        First Name               Middle Name         Last Name

    Debtor 2            ________________________________________________________________
    (Spouse, if filing) First Name               Middle Name         Last Name


    United States Bankruptcy Court - District of Hawaii

    Case number          16-00667
                        ___________________________
Ttggggg

    Local Form H1340 (10/19)
    APPLICATION FOR PAYMENT OF UNCLAIMED FUNDS

    1. Claim Information

    For the benefit of the Claimant(s) 1 named below, application is made for the payment of unclaimed funds on deposit
    with the court. I have no knowledge that any other party may be entitled to these funds, and I am not aware of any
    dispute regarding these funds.

    Note: If there are joint Claimants, complete the fields below for both Claimants.

    Amount:                                    10,710.80
    Claimant’s Name:                           KATRINA ULLANDA JONES

    Claimant’s Address -                       2385 Kukui Lane
    at time claim was filed:                   Honolulu, Hawaii 96818
    (if different from below)                  See Petition (Dkt. No. 01)
                                               *Provide documentation that Claimant resided or did business at this address.

    Claimant’s Current Mailing                 80209B North Lewis Street
    Address, Phone Number, &                   Fort Drum, NY 13603
    email Address:

    2. Applicant Information

    Applicant 2 represents that Claimant is entitled to receive the unclaimed funds because (check statements that apply):

                    Applicant is the Claimant and is the Owner of Record 3 entitled to the unclaimed funds appearing on the
                    records of the court.

                    Applicant is the Claimant and is entitled to the unclaimed funds by assignment, purchase, merger, acquisition,
                    succession, or by other means.

          ✔         Applicant is Claimant’s representative (e.g., attorney or unclaimed funds locator)

                    Applicant is a representative of the deceased Claimant’s estate.

    3. Supporting Documentation

                    Applicant has read the court’s instructions for filing an Application for Unclaimed Funds and is providing the
          ✔         required supporting documentation with this application.

                    The payee’s taxpayer information (Form W-9 or alternate form) is attached.


1 The Claimant is the party entitled to the unclaimed funds.
2 The Applicant is the party filing the application. The Applicant and Claimant may be the same.
3
  The Owner of Record is the original payee.
                    U.S. Bankruptcy Court - Hawaii #16-00667 Dkt # 59 Filed 05/11/21 Page 1 of 3
4. Notice to United States Attorney

         Applicant has sent a copy of this application and supporting documentation to the United States Attorney,
   ✔     pursuant to 28 U.S.C. § 2042, at the following address:

                                 Office of the United States Attorney
                                 District of Hawaii
                                 300 Ala Moana Boulevard, Room 6100
                                 Honolulu, HI 96850.

5. Applicant’s Declaration                                    5. Co-Applicant’s Declaration

Pursuant to 28 U.S.C. § 1746, I declare under penalty of      Pursuant to 28 U.S.C. § 1746, I declare under penalty of
perjury under the laws of the United States of America        perjury under the laws of the United States of America
that the foregoing is true and correct                        that the foregoing is true and correct.

      05/11/2021
Date: ____________________                                    Date: ____________________

/s/Raymond C. Cho
_____________________________________________                 _____________________________________________
Signature of Applicant                                        Signature of Applicant

 Raymond C. Cho/Attorney for Debtor
_____________________________________________                 _____________________________________________
Printed Name of Applicant                                     Printed Name of Applicant

Address: 1188 Bishop Street, Suite 3408                       Address:
         Honolulu, Hawaii 96813


Telephone: ___________________________________
           (808) 545-4600                                     Telephone: ___________________________________

       rcho@affinitylaw.com
Email: _______________________________________                Email: _______________________________________

6. Notarization                                               6. Notarization

STATE OF: __________________________________                  STATE OF: __________________________________

COUNTY OF: ________________________________                   COUNTY OF: ________________________________

This 2-page Application for Payment of Unclaimed Funds,       This 2-page Application for Payment of Unclaimed Funds,
dated _______________________, was subscribed and             dated _______________________, was subscribed and
sworn to before me this _____ day of _______________,         sworn to before me this _____ day of _______________,
20___ by:                                                     20___ by:

_____________________________________________,                _____________________________________________,

who signed above and is personally known to me (or            who signed above and is personally known to me (or
provided to me on the basis of satisfactory evidence) to be   provided to me on the basis of satisfactory evidence) to be
the person whose name is subscribed to the within             the person whose name is subscribed to the within
instrument. WITNESS my hand and official seal.                instrument. WITNESS my hand and official seal.


(SEAL)         Notary Public ______________________           (SEAL)         Notary Public ______________________

               My commission expires: ______________                         My commission expires: ______________




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                                    CERTIFICATE OF SERVICE

      In accordance with 28 U.S.C. § 2042, the undersigned hereby certifies that on the date
designated below, a true and correct copy of the foregoing application with all required documentation
was mailed to:

                           Office of the United States Attorney
                           District of Hawaii
                           300 Ala Moana Boulevard, Suite 6100
                           Honolulu, HI 96850.

Names and addresses of any other parties served:




Date: _______________________
      05/11/2021                                          /s/Raymond C. Cho
                                               Signature: ______________________________

                                               Name:      ______________________________
                                                          Raymond C. Cho/Attorney for Debtor

                                               Address:    1188 Bishop Street, Suite 3408
                                                           Honolulu, Hawaii 96813




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